 

Case 18-30849 Document 63 Filed in TXSB on 06/26/18 Page 1 of 10

 

 

 

MOR»t UNITED STATES BANKRUPTCY COURT

cAsE NAME: Bendco. Inc. PETtTtoN DATE.- 2128/18
cASE NuMBER.~ 18»30849 ntsmtcr oF tExAs: Soulhern
PROPOSED FLAN oATE: thstoN: Houston

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MONTHLY OPERATJ'NG REPORT SUMMARY FOR MONTH

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***The original ofthis document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustce***

 

 

 

 

 

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%REQUIRED lNSuRANCE MA!NTAM|'ED Ara atf accounts receivable being collected within terms? Yes
AS DF StGNATURE DATE EXP. Aw all post-petition ttabtttties, induding taxes. being paid within terms? No
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W/f cAsuAt.rv yes M/N t } QL_~ L*f_- _Lf1_ esq drasme
661 Aaturv yes %( 1 QL-QS_-_|_‘l ma en moss received being sometime DIP bank accounts C_‘f`_e_;> No
VEH!CLE YES NO( ) _t'_Qm-_I_[@_-_[_H_ Were any assets disposed of outside the normal soursa of business? Yos
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' `OTHER YES NO ( ) M~_Qs~lj_ Ars att U.S. Tn:stee Quatterty Fae Payments cunont? ‘t'es No
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cAsE NAME: Bendco. inc.
cAsE NuMBER: 18~3{)849

 

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cAsE NAME: Bendco, tnc.
cASE NUMBER: 18-30549

 

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case NAME: Bendco, lnc,
cAsE NUMBER: 18-30849

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cAsE NAME: Bend¢o. lnc.
cAsE NuMBER: 18-30849

ACING OF POST-PETITION LlAB!LlTlES
March 2018

FEDERAL
ACCOUNTS TAXES

13 7.29

 

AGING OF ACCOUNTS RECEIVABLE

MONTH

March 20|8

0-.10 DAYs l 189.07
31-60 DAYS

also DAYS 738.98
91+ DAVS

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OTHER TAXES

 

 

 

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case NAME: Bendco, lnc.
case NuMBER: 18-30!349

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cAsE NAME; Bendco. Inc.
cAsE NuMBER: 18-30349
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sE NAME: Bendco, lnc.
sE NuMBER: 18-30849

 

 

 

 

 

 

xvion naon MONTH Momu |MoNTu taon FlLlNG To
OTHER DISBURSEMENTS March 2018 DATE
Cost of sales $60,635.70 $0.00 $0.00 $0.00 $0.00

$0.00 $60,635.70

General & administrative expenses $0.00 1 $16,827.89 ll

316,827.39| $0.00| so.oo| $0.00| $o.oo|

 

Total

$77,463.59 $0.00 $0.00 $0.00 $0.00 $0.00 $77,463.59

Addendum to MOR-T

 

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cAsE NAME: Bendco. inc.
case NuMBEH: 18-30849

CASH ACCOUNT RECONC!LIATION
MONTH OF March 2018

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BALANCE 779 618.87 $39 73
IN TRANSIT 0 $0.00

AND|NG cHEcKs 24 .10 $24 94.10
DJusTED BANK BALANCE 185.76 618.87 314,804.63

 

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cAsr.-: NAME: Bendco. inc.
cAsE NuMBER: 18-30849

 

PAYMENTS TO INSIDERS AND PROFESSIONALS

0f the mud disbursements shown for the month, list the amount paid to insiders (as defined in Section

101(31)(A}(F) ofthe U.S. Bankruptcy Codc} and the professionals.

 

March 2018 MONTH MONT|'¥
INS[DERS: NAMEJCOMP TYPE

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2. Joh 5 000.00
3.

PROFESSIONALS

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